                    EXHIBIT A




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                   IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF ARIZONA

In re:                                               Chapter 7 Proceedings
SKYLER AARON COOK,                                   Case No. 2:20-bk-01730-EFB

                            Debtor.

JAMES E. CROSS, TRUSTEE,
                                                     Adversary No. 2:21-ap-00336-EFB
                            Plaintiff,

vs.
                                                   EXHIBIT A TO SUBPOENA TO
                                                   PRODUCE DOCUMENTS,
VALLIANCE BANK, SHELBY BRUHN, and                  INFORMATION, OR OBJECTS
KATHERINE S. BRUHN,

                            Defendants.




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                                           DEFINITIONS

         1.     “Action” means the above-captioned adversary proceeding.

         2.     “Bankruptcy Case” means the above-captioned bankruptcy proceeding.

         3.     “Buddy’s” means Buddy’s Renovation and Handyman Services LLC, as well as

any of its related, associated, or affiliated entities, and anyone acting at its direction, on its behalf,

or under its control, including its agents, representatives, partners, officers, directors, founders,

assigns, employees, attorneys, accountants, and/or consultants.

         4.     “CKE Fund” means CKE Fund Management, LLC, as well as any of its related,

associated, or affiliated entities, and anyone acting at its direction, on its behalf, or under its

control, including its agents, representatives, partners, officers, directors, founders, assigns,

employees, attorneys, accountants, and/or consultants.

         5.     “CKE Holdings” means CKE Holdings LLC, as well as any of its related, associated,

or affiliated entities, and anyone acting at its direction, on its behalf, or under its control, including

its agents, representatives, partners, officers, directors, founders, assigns, employees, attorneys,

accountants, and/or consultants.

         6.     “CKE Management” means CKE Home Management LLC, as well as any of its

related, associated, or affiliated entities, and anyone acting at its direction, on its behalf, or under

its control, including its agents, representatives, partners, officers, directors, founders, assigns,

employees, attorneys, accountants, and/or consultants.

         7.     “CKE Realty” means CKE Realty Fund, LP, as well as any of its related, associated,

or affiliated entities, and anyone acting at its direction, on its behalf, or under its control, including

its agents, representatives, partners, officers, directors, founders, assigns, employees, attorneys,

accountants, and/or consultants.



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         8.     “CMC Industries” means CMC Industries LLC, as well as any of its related,

associated, or affiliated entities, and anyone acting at its direction, on its behalf, or under its

control, including its agents, representatives, partners, officers, directors, founders, assigns,

employees, attorneys, accountants, and/or consultants.

         9.     “Concerning” shall mean relating to, referring to, describing, evidencing,

comprising, constituting, supporting, or tending to undercut.

         10.    “Communication” means any transmission of information from one person or entity

to another by any means whatsoever, including Documents reflecting such transmission of

information.

         11.    “Complaint” means the currently operative Second Amended Complaint filed by

the Trustee against Valliance on May 11, 2022, at ECF No. 39, in the Action.

         12.    “Customers” means any and all customers, creditors, lenders, investors, partners,

or other persons or entities for whom the Debtor performed any services or entered into any

agreements, including any services or agreements with respect to any real property or the

development thereof, as well as their agents, representatives, partners, officers, directors,

employees, attorneys, accountants, consultants, family members, spouse, and any other person or

entity acting at their direction, on their behalf, or under their control.

         13.    “Debtor” means the above-captioned Debtor Skylar Aaron Cook, as well as his

agents, representatives, partners, employees, attorneys, accountants, consultants, family members,

spouse, any other person or entity acting at his direction, on his behalf, or under his control, and

any entities or business in which he is a co-owner, including but not limited to the Debtor’s

Businesses, as defined below.

         14.    “Debtor’s Businesses” means Buddy’s, CMC Industries, CKE Holdings, CKE



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Management, CKE Fund, CKE Realty, and any of the Debtor’s other businesses or entities in which

he is or was an owner or a co-owner.

         15.    “Document” is synonymous in meaning and equal in scope to the usage of the term

“documents or electronically stored information” in Fed. R. Civ. P. 34(a)(1)(A).

         16.    “Including” means including but not limited to.

         17.    “Partnership Agreement” means any Partnership Agreement or any other

agreements (including any kind of agreement relating to the sale, purchase, or improvement of any

real estate) that any persons or entities entered or claim to have entered with the Debtor or the

Debtor’s Businesses, including the Partnership Agreements identified in the Complaint.

         18.    “Trustee” or “Plaintiff” means Plaintiff James E. Cross, including in his capacity

as Chapter 7 Trustee of the estate of the Debtor, as well as his agents, representatives, partners,

employees, attorneys, accountants, consultants, and any other person or entity acting at his

direction, on his behalf, or under his control.

         19.    “Valliance” means defendant Valliance Bank, as well as anyone acting at its

direction, on its behalf, or under its control, including its agents, representatives, partners, officers,

directors, founders, assigns, employees, attorneys, accountants, and/or consultants.

         20.    “You” and “Your” refers to yourself, as well as any entities that you may own or be

a co-owner of, and anyone acting at your direction, on your behalf, or as your agents,

representatives, partners, employees, attorneys, accountants, consultants, and any other person or

entity acting at your direction, on your behalf, or under your control.

                                          INSTRUCTIONS

         1.     Objections. If any objection is made to any of the following Requests, including

any objection made based upon a claim of privilege as to any response, you should state the legal



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basis for the privilege. Where an objection is made to any Request, the objection shall state

whether any responsive materials are being withheld on the basis of that objection. An objection

to part of a Request must specify the part and permit inspection of the rest. To the extent you

refuse to respond to any Request, in whole or in part, on grounds of privilege, identify the withheld

Document(s) or Communication(s) on a privilege log. Any redactions to Documents shall be

prominently identified with a mark indicating the location and size of the redacted area, and shall

be logged.

         2.    Supplemental Responses. Each and every Request herein is deemed continuing in

nature pursuant to the Federal Rules of Civil Procedure, and you are obligated to timely amend

your responses if you learn at any time that any response to one or more of these Requests is

incomplete or inaccurate, and promptly serve those amended responses upon counsel for

Valliance. Any additional Documents or information that you acquire subsequent to the date of

responding to these Requests, up to and including the date of trial, shall be furnished to the

attorneys for Valliance promptly after such Documents or information are acquired.

         3.    Source and Scope of Responses. Each Request requires you to produce all

responsive Documents in your possession, custody, or control in their entirety. These Requests

are directed to you and persons connected with or representing you (including attorneys)

concerning the matters addressed in these Requests. For each of your Responses, you shall indicate

which Documents are being produced in response to each particular Request by identifying the

document control numbers or BATES stamp numbering of the Documents being produced in

response to that particular Request. If no Documents responsive to a particular Request are within

your possession, custody, or control, the Response should so state. In the event that you are able




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to provide only a portion of the Document(s) called for in any particular Request, provide all

Document(s) that you are able to provide.

         4.    Time Period. Unless otherwise stated, the time period for these Requests is January

1, 2016 to the present.

                                  DOCUMENT REQUESTS

         1.    All Documents and Communications concerning the Debtor.

         2.    All Documents and Communications concerning any of the Debtor’s Businesses.

         3.    All Communications between the Debtor and anyone else concerning the Debtor,

any of the Debtor’s Businesses, or any real property that was purchased, developed, or sold by the

Debtor (or any of the Debtor’s Businesses) for any of the Debtor’s Customers.

         4.    All Communications between the Debtor and any of the Debtor’s Customers.

         5.    All Communications between the Debtor and any employees, laborers, or

contractors utilized, employed, or paid by the Debtor or any of the Debtor’s Businesses.

         6.    All Communications between the Debtor and any accounting firm utilized or

employed by the Debtor.

         7.    All Communications between the Debtor and the Trustee.

         8.    All Communications between the Debtor and Valliance.

         9.    All Communications between the Debtor and any financial institution or bank other

than Valliance.

         10.   All agreements, contracts, or loan documents that the Debtor (or any of the Debtor’s

Businesses) entered into with Valliance.

         11.   All Documents and Communications concerning any bank accounts or funds that

the Debtor (or any of the Debtor’s Businesses) had or maintained at Valliance, including, but not



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limited to, any account histories or bank statements concerning any such accounts or funds that

the Debtor (or any of the Debtor’s Businesses) had or maintained at Valliance.

         12.   All Documents and Communications concerning any bank accounts or funds that

the Debtor (or any of the Debtor’s Businesses) had or maintained at any bank or financial

institution other than Valliance, including, but not limited to, any account histories or bank

statements concerning any such accounts or funds that the Debtor (or any of the Debtor’s

Businesses) had or maintained at these other banks or financial institutions.

         13.   All agreements or contracts that the Debtor (or any of the Debtor’s Businesses)

entered into, including, but not limited to, all Partnership Agreements.

         14.   All Documents and Communications concerning any and all payments, transfers of

money, or loans that the Debtor (or any of the Debtor’s Businesses) received, including, but not

limited to, all of the Debtor’s banking statements at every financial institution or bank at which

the Debtor held or maintained funds on account.

         15.   All Documents and Communications concerning any and all payments, transfers of

money, or loans made by the Debtor, any of the Debtor’s Businesses, or Valliance, to any of the

Debtor’s Customers.

         16.   All Documents and Communications concerning any real estate purchased,

developed, renovated, or sold by the Debtor (or any of the Debtor’s Businesses) for any of the

Debtor’s Customers (or for their benefit), including all Documents, Communications, and records

identifying the dates and amounts of all expenditures for the purchase or development of each such

real property or improvement, the dates and amounts of all income or revenue generated on account

of each such real property, and the dates and amounts of any disposition of all such income,

revenue, or property.



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         17.   All Documents and Communications concerning any businesses or entities that the

Debtor owns which did business with, or entered into any contracts with, any of the Debtor’s

Customers, including any businesses or entities that the Debtor may be a co-owner of with any of

the Debtor’s Customers.

         18.   All Documents and Communications concerning your decision to enter into any

Partnership Agreements or otherwise solicit or receive money from any of the Debtor’s Customers,

including any Documents to which you referred, upon which you relied, or which you provided in

making such decisions, and any Documents and Communications relating to any investigation or

due diligence that the Debtor or the Debtor’s Customers performed with respect to any Partnership

Agreements or any real property to be purchased, improved, developed, or sold therefor prior to

entering into any Partnership Agreements or otherwise soliciting or receiving any money from any

of the Debtor’s Customers.

         19.   All Documents that the Debtor obtained, generated, or provided relating to any

investigation or due diligence that the Debtor or any of the Debtor’s Customers performed with

respect to the Debtor or any of the Debtor’s Businesses at any time, whether or not such

investigations relate to any Partnership Agreements, real estate purchased, improved, or sold,

investments or loans, or other transactions involving the Debtor (or any of the Debtor’s

Businesses), and whether such Documents were obtained before or after any such agreements,

property interests, or transactions arose or occurred, and all Communications the Debtor has had

with any other persons or entities in connection with any such investigations or due diligence at

any time.




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         20.   All Documents and Communications concerning any lawsuits, arbitrations,

mediations, or claims that may have been filed or asserted against the Debtor or any of the Debtor’s

Businesses.

         21.   All Documents and Communications concerning any lawsuits, arbitrations,

mediations, or claims that may have been filed or asserted by the Debtor or any of the Debtor’s

Businesses.

         22.   All Communications between the Debtor and any federal, state, or local

government agencies concerning the Debtor, any of the Debtor’s Businesses, any Partnership

Agreements, or any real property that was purchased, developed, or sold by the Debtor (or any of

the Debtor’s Businesses) for any of the Debtor’s Customers.




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